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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL INDUSTRY )

AVERAGE WHOLESALE PRICE ) MDL No. 1456
LITIGATION ) Civil Action No. 01-12257-PBS
)
THIS DOCUMENT RELATES TO: ) Hon. Patti B. Saris
)
U.S. ex rel. Ven-a-Care of the Florida Keys, ) Magistrate Judge Marianne B. Bowler
Inc. v. Abbott Laboratories, Ine. J
No. 07-CV-11618-PBS )

DECLARATION OF C. JARRETT ANDERSON SUBMITTING EXHIBITS
_IN SUPPORT OF PLAINTIFF’S RESPONSE TO
ABBOTT’S MOTION FOR PARTIAL SUMMARY JUDGMENT

I, C. Jarrett Anderson, do hereby declare as follows:

1. I am an attorney at law in the State of Texas and counsel for Plaintiff Ven-A-Care
of the Florida Keys, Inc. (“VAC”). I am a member in good standing with the State Bar of Texas.
I have been admitted pro hac vice before this Court and am in good standing.

2. On behalf of the Plaintiff VAC, I am submitting with this declaration Exhibits in
support of Plaintiff's Response to Abbott’s Motion for Partial Summary Judgment.

3. The following exhibits are true and correct copies of the materials described

therein and submitted with this declaration:

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Exhibit No, Description

1 3/20/07 Debra DeYoung transcript excerpts

2 2/15/01 First Amended Complaint, docket 00-cv-10698

3 4/23/09 John Lockwood transcript excerpts

4 7/22/08 Donald Lyle transcript excerpts

5 2/1/02 Second Amended Complaint, docket 00-cv-10698

6 2/15/05 Third Amended Complaint, docket 00-cv-10698

7 8/30/07 Complaint for Violations of the FCA against Abbott (00-cv-
10698) docketed under 07-cv-11618

8 12/13/07 David Tawes transcript excerpts

9 July 1984 OIG Report, Changes to the Medicaid Prescription Drug
Program Could Save Millions

10 9/21/01 Congressional Testimony

11 2/17/09 Joseph Fiske transcript excerpts

12 6/3/09 Congressional Record-Fraud Enforcement and Recovery Act
of 2009

13 12/17/08 Beth Senger-Garvin transcript excerpts

14 2/20/09 April Gerzel transcript excerpts

15 2/19/09 Theresa Parker transcript excerpts

16 3/27/09 Expert Report of Mark G. Duggan

17 9/9/08 Neil Warren transcript excerpts

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18 9/9/08 Warren Ex. 2 - July-September 1999 Leader Drug Stores
Advantage contract pricing

19 Dew Spreadsheet

20 1/15/09 Russell Lehn Ex. 9

21 8-27-08 VAC Rule 26 Disclosure

22 1/47/08 John Lockwood transcript excerpts

23 7/27/09 John Lockwood transcript excerpts

24 12/6/07 John Lockwood transcript excerpts

25 12/4/06 VAC Answers and Objections to Abbott First Interrogatories

26 7/31/92 Complete Congressional Record-Prescription Drug Rebate
Program Testimony

27 1/15/09 Russell Lehn transcript excerpts

28 3/22/07 Joseph Fiske transcript excerpts

29 NTIS Dept. of Commerce report "Assessment of Adequacy of
Reimbursement Rates To Pharmacies and Its Impact on the Access to
Medication and Pharmacy Services by Medicaid Recipients" p. 4

30 1994 HCPA Spring Review-"State Medicaid Pharmacy Payments
and Their Relation to Estimated Costs" p. 26

31 2/17/09 Fiske exhibit 9 — fax dated 7/1/99

32 Declaration of Kevin Gorospe

33 Declaration of Mark G. Duggan, Ph.D.

34 7/24/89 The Pink Sheet — VA Obtains Rx Drug Price Discounts

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35

1/2/08 FMI letter Kerry Weems re Final Rule to Implement
Provisions of DRA Pertaining to Prescription Drugs

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I swear under the penalties of perjury that the foregoing statements are true and correct.

/s/ C. Jarrett Anderson
C. Jarrett Anderson

Executed this 2nd day of November, 2009

T hereby certify that I have this day caused an electronic copy of the above DECLARATION
OF C. JARRETT ANDERSON SUBMITTING EXHIBITS IN SUPPORT OF
PLAINTIFF’S RESPONSE TO ABBOTT’S MOTION FOR PARTIAL SUMMARY
JUDGMENT to be served on alf counsel of record via electronic service pursuant to Paragraph
11 of Case Management Order No. 2 by sending a copy to LexisNexis File & Serve for posting
and notification to all parties.

Dated: November 2, 2009 /s/ C. Jarrett Anderson
C, Jarrett Anderson

